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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

SMILEDIRECTCLUB, LLC,

         Plaintiff,
                                                          Case No. 1:17-cv-00939-PLM-PJG
v.
                                                          Honorable Paul L. Mahoney
MICHIGAN DENTAL ASSOCIATION,
         Defendant.


     NOTICE OF STIPULATED VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                  PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(2)

         Plaintiff, SmileDirectClub, LLC (“Plaintiff”) and Defendant, Michigan Dental

Association (“Defendant”) (collectively, the “Parties”), through their undersigned counsel,

hereby stipulate to the voluntary dismissal of this action without prejudice pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(2), which provides for such dismissal without a Court order

when there is a “stipulation of dismissal signed by all parties who have appeared.”

STIPULATED TO AND APPROVED BY:


Dated: July 2, 2018

DYKEMA GOSSETT PLLC                              KERR, RUSSELL AND WEBER, PLC

By: /s/Mark J. Magyar                            By: /s/Matthew L. Powell (w/ permission)
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